     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 98-1849

                        UNITED STATES,

                          Appellee,

                              v.

                        FELIPE BERNAL,

                    Defendant, Appellant.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF PUERTO RICO

      [Hon. Juan M. Perez-Gimenez, U.S. District Judge]

                            Before

                    Lynch, Circuit Judge,
               Bownes, Senior Circuit Judge,
                 and Lipez, Circuit Judge.

   Felipe Bernal on brief pro se.
   Guillermo Gil, United States Attorney, Jorge E. Vega-Pacheco,
Assistant United States Attorney, and Camille Velez-Rive, Assistant
United States Attorney, on brief for appellee.

June 17, 1999

          Per Curiam.    We have reviewed the parties' briefs
and the record and affirm the judgment of the district court
denying the Fed. R. Crim. P. 35(a) motion of Felipe Bernal. 
First, we note that since defendant did not object to the
Report and Recommendation of the magistrate judge   despite an
adequate warning regarding the consequences of the failure to
do so   he has waived the right to appellate review.  See
Henley Drilling Co. v. McGee, 36 F.3d 143, 150-51 &amp;amp; n.19 (1st
Cir. 1994); Park Motor Mart, Inc. v. Ford Motor Co., 616 F.2d
603, 605 (1st Cir. 1980).
          In any event, we agree with the Report and
Recommendation that the motion was meritless.  The maximum term
of imprisonment for each of the offenses to which defendant
pleaded guilty was life imprisonment.  See Gozlon-Peretz v.
United States, 498 U.S. 395, 401, 404-10 (1991) (tracing the
history of the federal drug enforcement penalty scheme and
holding that  1002 of the Anti-Drug Abuse Act of 1986, which
increased the maximum punishment for large-scale drug offenses
to life imprisonment, became effective on October 27, 1986). 
Also, it is well-settled that "consecutive sentences for a
substantive drug offense and a conspiracy to commit such an
offense are . . .  permissible."  United States v. Cerro, 775
F.2d 908, 910 (7th Cir. 1985); United States v. Wylie, 625 F.2d
1371, 1381 (9th Cir. 1980).
          Affirmed.  See Local Rule 27.1.
